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STATE OF LLLINOIS }
) SS:
cousty OF COOK 3)
IN THE CIRCUIT COURT Of COOK COUNTY, ILLINOIS
COUNTY PEPARTMENT - LAW DIVISION
TANYA GILL,
Plaintift,
r2 CY 2963

VILLAGE OF MELROSE PARK, ¢f

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_vs- } No.

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als, }
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Defendants.

The discovery deposition of KEVIN
DIXON, called for examination, taken before
SUZANNE BURKE, a Certified Shorthand Reporter in

the State of Illinois, at 1001 West Van Buren

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WITNESS:
KEVIN DIXON
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EXHIBITS

DEPOSITION EXHIBIT NOS.

1 86

NOTE: Exhibit retained by counsel

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35 gtreet, Chicago, Tilineds, on the 10th day of 416
16 October, 2012, A.D., commencing at the hour of "1
1? 10:11 o'clock a.m. 12 i
1B 13 :
19 Ab is
. ee 16
Wy a7
22 18
aa . 14
20
21
ADVANTAGE REPORTING - (800) 347-3124 22
23
ADVANTAGE REPORTING - (800) 347-3124 .
2 4 ‘
4 APPEARANCES: . :
4 MS. RUKAVINA: If you would please swear him in. |
2 a David M. Aone 2 (Witness sworn.) |
undiey Law Group
3 1001 West Van Buren Street 3 KEVIN DIXON,
Chicago, IHinois 60607 4 called as a witness herein, having been first duty ;
4 (312) 212-3343 5 sworn, was examined and testified as follows.
dmb@hundleylaw.com, ore ‘
5 6 EXAMINATION
appeared on behaif of the plaintiff; 7 BY MS. RUKAVINA:
6 . :
Ms. Zrinka Rukavina 8 Q. If you would please state and spell your
7 (Hervas, Condon & Bersani, P.C.) § name for the record?
333 Pierce Road, Suite 195 . . .
8B Itasca, Illinois 60143 10 A. Kevin Dixon, K-e-v-i-n D-i-x-o0-n,
9 (630) re nbs : 11 MS. RUKAVINA: Let the record reflect
u i ttorn . 1 . at . :
ATURAVING catkarneys.com 42 that this is the deposition of Kevin Dixon, taken
10 appeared on behalf of the defendant. 43 in Gill versus Vilage of Melrose Park, et al.,
Mo eee 44 pursuant to subpoena and agreed upon by today's
45 date by the parties and the deponent, taken
a 46 pursuant to the Federal Rules of Civil Procedure
14 47 and any applicable local Rules of the Northern
. 18 District.
17 49 BY MS. RUKAVINA:
‘s 20 Q. Mr. Dixon, have you ever given a
20 21 deposition before?
21 22 A. No.
2 23 Q. Okay. Things should go pretty smoothly

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17 19
4 problems with him? 4 Q. Approximately what time did you make it
2 A. No. 2 to the iBar that night?
3 Q. Was this the one and only time you've 3 A. Iwas there early, so I want to say
4 been arrested? 4 9:00 o'clock.
5 A. Yes. 5 Q. And did you go there by yourself?
6 Q. So it's fair to say you have no 6 A. Yes.
7 convictions for any felonies? 7 Q. Do you recall was April 2nd a Saturday,
8 A. No. 8 April 2nd of 2011?
9 Q. You have no convictions for any 9 A. Ibelieve so.
40 misdemeanors involving fraud? 40 Q. Okay. Did you work on Saturdays at that
#1 A. No, I don't. 41. time?
12 Q. Apart from being arrested, has there ever 12 A. LIworked some weekends. I'm not sure if
4% been a situation in which you've had any contact 43 I worked that particular Saturday or not.
14 with police? 14 Q. Okay. If L asked you if you remember
15 A. No. 45 what you did that day before going to the iBar,
46 Q. What's your height, sir? 46 would you be able to remember that?
17 A. Five-ten. 47 A. No.
18 Q. Approximately how much do you weigh? 18 Q. Not specifically?
19 A. 240. 419 A. No, not specifically.
20 Q. And this is approximately how much you 20 Q@. Now, when you got to iBar at 9:00
24 weighed on April 2nd of 2021? 24 o'clock, were there people present there who you
22 A. Iwould say, yes. 22 knew?
23 Q@. You know Ms. Gill, Tanya Gill, correct? 23 A. Yes.
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18 20
4 A. Yes. 1 Q. Could you name some of the people who
2 Q. Can you tell me how you know Ms. Gill? 2 were present?
3 A. Casual friends. 3 A. The owner, Bart. I don't know Bart's
4 QQ. And how long have you been casual 4 last name. And I believe security was there; and
5 friends? 5 T'll be honest, I don't remember their names.
6 A. About maybe three years, I believe. 6 It's, like ~~ I can't remember their names.
7 Q. Do you recall how you met? 7 Q. Okay. And that's referring to the
8 A. Via Facebook. 8 security, you don't remember the security names or
9 Q. Andas casual friends, was Ms. Gill 9 you don't remember the individuaf's names -~ the
40 someone you would go out to dinner with or toa 40 other individuals who were there?
44 bar or a club or anything like that? 11 A. The securities.
12 A. Yeah, we've gone out to, you know, a bar | 12 Q. Okay. What about the people you knew who
43 or met out for drinks. 43 were there for the birthday party, was there
14 Q. Did you see Ms. Gill at the iBar on 44 anybody there at that time?
45 April 2nd of 2011? 16 A. Tdon't remember, It was -- I was there
16 A. Yes. 46 early. You know, I don't think -- the party
17 Q. What was the reason for your presence at 17 probably didn't start until 10:00. So I'm not --
18 the iBar that night? 48 I don’t remember fully on that.
19 A. If tremember correctly, for a birthday 19 Q. Okay. Did you know Bart, the owner of
20 «party. 20 =the iBar, at that time?
21 Q. Do you recal! who the birthday party was 21 A. Yes.
22 for? 22 Q. How did you know Bart?
23 A. No, I don't. 23 A. From I've done and promoted parties at

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21 23
4 the iBar. 1 Q. And the one that you recognized, the
2 Q. Was this a party that you were promoting 2 tall, big built man, was he outside or inside?
3 that night, or was it more of a personal party? 3 A. Inside.
4 A. Lhbelieve it was a party that I was 4 Q. And from your perspective of what you
§ promoting or part promoting. 5 viewed that night, did he stay in one area or did
6 Q. And the party promoting, is that 6 you walk around inside of the bar?
7 something you do on the side, or do you have a 7 A. Waiked around.
8 company that does that? 8 Q. Do you recall approximately how long you
9 A. lLused to do it with a friend. f don't 9 were at the iBar until you saw Ms. Gill?
10 doit any longer. 10 A. No.
41 Q@. Okay. What about in April of 2011, is i1 Q. Was it just a handful of minutes; was it
42 that when you were doing it with a friend? 42 more like hours? is there any way you can
13 A. Yes. 43 approximate?
14 Q. And did you and the friend have a company 14 A. It was between one and two hours, I would
45 or did you just do that on the side? 45 say.
46 A. Just on the side. 16 Q. During those one and two hours that you
17 Q. When you got there at 9:00 o'clock to the 47 were at the iBar before Ms. Gill came, did you
48 iBar on April 2nd of 2011, did you have any 48 have any alcoholic drinks?
49 conversation with Bart? 19 A. Idon't remember.
20 A. Yes, I'm sure. 20 Q. Would it have been unusual for you to be
24 Q. And what was said between you? 21 ata bar for a couple hours and not have any
22 A. tImsorry, I don’t remember. 22 alcoholic drinks?
23 Q. Okay. And then the security officers you 23 A. Would it be unusual?
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22 24
4 said were there -- strike that. 4 Q. Right.
2 Had you been at the iBar before 2 A. No.
3 Apri} 2nd of 2011? 3 Q@. So that's something that could happen?
4 A. Yes. 4 A. Yes.
5 Q. Okay. The security officers that were 5 Q. When you first saw Ms. Gill at the iBar
6 there that night, were those people who were 6 on April 2nd of 2011, where were you?
7 familiar to you? 7 A. 1 betieve inside.
8 A. One of the four, yes. 8 Q. Okay. Can you explain to me maybe where
9 Q. And you just don't recall that 9 you were sitting or standing, if that's the case?
40 = individual's name? 10 A. &don't remember that exactly.
414 A. No. 1 Q. Bo you recall, had you been talking to
12 Q. Can you physically describe the 42 someone at that point or were you just hanging out
43 individual to me? 13 by yourself?
14 A. Tall, Caucasian male, dark hair, big 14 A. By the time she got there, there were
45 build, If i had to quess, he's probably about 15 more people inside, sot probably had, you know,
16 six-three, six-four. 46 talked and socialized prior to her getting there.
47 Q. And then there were three other security 17 Q. Okay. Do you recall any of the names of
48 officers there from what you could see? 48 the people who were present by the time Ms. Gill
49 A. Yes. 19 came?
20 Q. Now, when you were there at 9:00 o'clock, 20 A. No.
21 where were the security officers located? Were 21 Q. Okay. When you first saw Ms. Gill at the
22 some outside and some inside? 22 on iBar on April 2nd, 2011, where was she?
23 A. Yes, two in and the other two outside. 23 A. Inside.

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25 27
1 Q@. Was she standing at the bar, sitting, 1 remember right.
2 just coming in? Do you recall when you first saw 2 Q. And, I'm sorry, the conversation with
3. her? 3. Ms. Gill, was that still inside the iBar?
4 A. LIbelieve when she came in, I saw her and 4 A. Yes.
5 we were both at the bar, if I remember correctly. § Q. When Ms. Gill told you that this woman
6 Q, Was she with anybody? 6 had hit her or this individual had hit her, was
T A. Not to my recollection. 7 she upset?
8 Q. Did you have any conversation with 8 A. Yes.
9 Ms. Gill when you first saw her come into the bar? 9 Q. What happened after she told you that
10 A. Yes. 40 this woman hit her, this individual, excuse me,
11 Q. And what was that conversation? 44 hit her and you asked if she was still in the bar?
12 A. I'm sure I just greeted her probably. I 12 A. Lcan't be for sure. I believe I went to
43 don't remember specifics. 43 Bart, who is the owner, and asked what's going on.
44 Q. While you were at the iBar on April 2nd 14 Q. And was Bart inside the bar at the time?
45 of 2011, did you become aware of an incident that 15 A. I believe so, yes.
48 occurred between Ms. Gill and another patron? 16 Q. And what did Bart tell you in response?
17 A. Yes. 17 A. believe he said something to the extent
18 Q. Okay. How did you become aware of that 48 that it was being taken care of.
49 incident? 49 Q. Did you ask him what that meant, that it
20 A. She told me. 20 was being taken care of?
24 Q. And when did she tell you? 24 A. No. Because it was kind of crazy at that
22 A. After the incident happened. 22 point, you know, and I believe he was trying to
23 Q. Approximately how long after the incident 23 get everything calmed down, so...
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26 28
4 happened? 4 Q. What do you mean it was crazy at that
2 A. It was pretty immediate after it 2 point?
3 happened. 3 A. They were taking people outside, I
4 Q. So it was still that night? 4 helieve, and just trying to get the situation
5 A. Absolutely. 5 cared for.
6 QQ. And were you still at the iBar? 6 Q. When you say they, who do you mean?
7 A. Yeah, yeah. 7 A. Security.
8 Q. Okay. So you did not see the incident 8 Q. Okay. So the security officers from the
9 that occurred between Ms. Gill and the other 9 bar brought people outside?
40 patron? 10 A. Yes.
41 A. No. 44 Q. Did Bart tell you that he saw the
12 Q. And when Ms. Gill told you about the 42 Incident between Ms. Gill and the other patron?
43 incident, what did she tell you? 13 A. Zdon't remember. 1 don't remember if he
44 A. Lt believe, if I remember correctly, she 44 said he saw it.
45 said someone hit her. That’s all I remember. 16 Q. At that time, after you spoke with Bart,
+6 Q. Okay. And what was your response to her? 46 did you speak with any of the other employees at
17 A. think 1 asked her who did it and were 47 the iBar?
48 they still in there. 18 A. Maybe. I can't be sure. I'm not sure.
419 Q. Was there any other conversation between 19 Q. Okay. When you were saying the
20 the two of you at that time? Did she point out 20 security -- strike that.
21 the person or tell you anything more? 21 When you said that security was
22 A. tdon't think -- at that time I don't 22 bringing people outside, did you believe it was in
23 ‘think the person was in there any longer, if I 23s relation to this incident?
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37 39
4 A. Yes. 1 Q. Apart from the three original police
2 Q. Okay. Now, sorry, going back to when you 2 officers that you saw, did you see other police
3 were outside when you first saw the police 3 officers come on the scene at any point that
4 officers. Apart from the officers, the security 4 night?
5 members, Ms. Gill, you, and Ms. Gill's friend, was 5 A. Yes.
6 there anybody else outside with you? 6 Q. Approximately how many other police
7 A. There were people outside, but not, like, 7 officers came to the scene?
8 specifically, you know, with me, so... 8 A. Iwould say, if I remember,
9 Q. Just patrons of the bar standing there? 9 approximately, it seemed, about around six or so.
10 A. Absolutely. They were still letting 40 Q. Is that six extra or six in total?
44 people in, and so... 1 A. Six in total.
12 Q. Okay. Did you recognize any of those 12 Q. Did you notice approximately how many
13 people? 43 squad cars there were in the parking lot?
14 A. Ican'tremember. I don't think I was 14 A. Ican'trecall. More than two.
45 even paying much attention to them. 15 Q@. Did you have any conversations with any
16 Q. Okay, So if you would tell me what 46 of the police officers outside of the iBar on
47 happened when you first saw the first police 47 April 2nd of 2011?
48 officers on the scene outside the iBar? 18 A. Idon't think so. I don’t think I did.
419 A. When I first saw the first police 19 Q. Did you see whether -- strike that.
20 officer, i believe he was talking to the owner, 20 Did Ms. Gill have any conversations
21 Bart. 21 with police officers outside the iBar on April 2nd
22 Q. And did you hear any of that 22 of 2011?
23 conversation? 23 A. Yes.
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38 40
1 A. No. 4 Q. Were you present in her general vicinity
2 Q. And this happened outside of the iBar? 2 when she had the conversation with the officer?
3 A. Yes. 3 A. Yes.
4 Q. Would you be able to describe for me 4 Q. Now, was it one officer or more than one
§ physically what that officer looked like? 5 officers that Ms. Gill was speaking with?
6 A. No. 6 A. It was one officer.
7 Q. Okay. And while you saw this officer 7 Q. And would you be able to physically
8 speaking with Bart, what else was happening, if 8 describe that officer for me?
9 anything? 9 A. Lremember he had dark or black hair,
10 A. Lecan't be sure. Everything that was 40 Caucasian, male, approximately six feet, probably
41. happening that night just kind of happened back to |11 about 200, 210.
42 back, and I can't say that it -- at this point 42 Q. Were you -- strike that.
43 that I was doing anything more than just trying to | 13 Was he in uniform?
44 be aware of the situation and seeing if they had 14 A. Yes.
15 everything under control. 16 Q. Were all the officers that were on the
16 Q. Okay. Well, the other approximately two 46 scene in uniform that you could tell?
17 police officers that you saw, did you see them do 17 A. Yes.
48 anything while this one officer was speaking with 18 Q. Were you able to see his name tag or star
49 Bart? Were they speaking with other patrons or -- 49 or anything like that?
20 A. 1 believe they went inside. 20 A. 1 believe I saw his star. I don't
21 Q. Now, those two that went inside, did you 21. remember a name tag.
22 ever see them come back outside that night? 22 Q. Okay. Was there anybody else present
23 A. Yes. 23 with Ms. Gill and you and this officer when
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44 43
4 Ms. Gill spoke with the officer? 1 Q. And did she do that?
2 A. Her friend, yes. 2 A. Yes.
3 Q. And where were the four of you standing 3 Q. Now, the first time when she told him
4 in relation to the door of the iBar when Ms. Gill 4 what happened, what did she tell him?
5 spoke with the officer? 5 A. Someone hit her in the bar.
6 A. Probably 20, 25 feet away from the front 6 Q. Did she tell him where the individual hit
7 door. 7 her, meaning where on her body?
8 Q. Did you observe Ms. Gill's friend's B A. Ibelieve so, yes.
9 attitude that night while Ms. Gill was speaking 9 Q@. And where was that?
40 with the officer? Her demeanor, did you observe 10 A. Inthe face area, particularly, like, I
41. her demeanor at that time? 41 believe, in the nose.
12 A. Yes. 42 GQ. And when the officer asked her for more
13 Q. Were you paying attention to that? 43 detail, what sort of more detail was Ms. Gill able
14 A. Yes. 44 to give him?
15 Q. Did she appear to be emotional and 15 A. lbelieve he was asking for more detail,
46 agitated? 46 because of the interruptions, and maybe he wasn't
17 A. Yes. 47. clear on what she was saying. I can’t
18 Q. The way Ms. Gill described it for us is 18 specifically speak to, you know, a quote or
49 the officer was asking her questions and her 49 something that she said. I just kind = i know
20 © friend would try to interject and other people 20 that's what he asked her, and then the
24 would try to tell the officer something. Is that 21. conversation kind of went from there.
22 the way you remember it as well, or would you 22 Q. Did she reiterate what she had told him
23 describe it differently? 23. about how she was punched in the bar?
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42 44
4 A. No. That sounds about accurate. It just 1 A. Yes.
2 seemed -- if I remember, the officer was here, and 2 Q. Okay. What was spoken with -- between
3 then three of us were here. And then it seemed 3 them after she reiterated what happened in the
4 like someone was asking him something else, and it 4 bar?
5 was kind of back and forth like that, so, yeah. 5 A. Idon't remember actual words. I don't
6 Q. ‘there were lots of people speaking at the 6 remember actual conversation frem that point at
7 same time? 7 all.
8 A. Yes. 8 Q. Were you trying to speak with that same
9 Q. Did it appear chaotic? 9 officer as weil?
40 A. LIwouldn't say chaotic, It was justa 10 A. No.
41 lot of interruptions. 11 Q. Was there anyone else in that general
42 Q. Did you hear the conversation between 42 vicinity with whom you were speaking?
143 Ms. Gill and the police officer? 13 A. Tanya's friend was still there, yeah.
14 A. Somewhat, yes. 14 Q. Okay. So you were speaking with her?
15 Q. Tell me to the best of your ability what 15 A. No, I wasn't speaking with her either,
46 the conversation consisted of? 46 no.
17 A. The officer asked her to describe what 17 Q. Okay. I'm sorry, my question was was
48 happened. 48 there anyone you were speaking with in that area
48 GQ. And when he asked her to describe what 49 while Ms. Gill was speaking with the police
20 happened, what did she say? 20 ~—soofficer?
24 A. She told him what happened; and from that j 21 A. Yes.
22 point, if I remember correctly, he asked her to 22 Q. Who were you speaking with?
23 describe to him in more detail what happened. 23 A. Bart, the owner.

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45 47
1 Q. Was Bart outside the whole time during 4 A. Outside of him grabbing her. I'm not
2 Ms. Gill's interaction with this police officer? 2 understanding that question.
3 A. Ibetieve so, yes. 3 Q. Okay. I just wanted te make sure that
4° Q. And was he in that same general area 4 your attention was on Ms. Gill and the officer
5 where you and Ms. Gill and the officer were § that moment before he took her wrist, or whether
6 standing, or was he closer to the door? 6 your attention was brought to the two of them as
7 A. No. He was in the same general vicinity. 7 he was taking her wrist? Do you know what I mean?
8 Q. And, again, do you recall any specifics 8 A. Somewhat.
9 of what was said between you and Bart at that time 9 Q. Okay. Was the act of the officer taking
40 while Ms. Gill was talking to the police officer? 40 Ms. Gill's wrist to her back what brought your
11 A. No. 44 attention to them, or had you been watching them
12 Q. At one point -~ strike that. 42 the instant prior to that?
43 Are you aware that at one point the 13 A. Thad been watching; and if I remember
44 officer took Ms. GHl's hand, put it behind her 44 correctly, where I was standing, they were fo my
45 back, and walked her over to a car? 45 left, and I believe Bart was to my right somewhat
16 A. Yes. 46 here. So 1 could -- you know, this whole vision
47 Q. Okay. Did you see the officer take her 47. area I was able to see, you know. It wasn't -- I
48 wrist, put it behind her back? 48 didn't have my back to her if that's what you're
19 A. Yes. 49 asking, no. I was facing her in that same general
20 Q. Do you recall what was spoken between 20.=«direction.
21 ther, if anything, prior to the officer putting 21 Q. Okay. So, I'm sorry, I'm not trying to
22 Ms. Gill's wrist behind her back? 22 make this a big deal. I just want to make sure
23 A. No. 23 that your attention was on Ms. Gill and the police
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46 48
4 Q. Did you see any physical interaction 4 officer that moment before he took her wrist and
2 between Ms. Gill and the police officer before he 2 put it on her back, behind her back?
3 took her wrist and put it against her back? 3 A. Tomy -- yeah, ft believe so.
4 A. Idon’t understand. 4 Q. Okay. Did the officer say anything to
§ Q. Okay. Did you see any physical contact 5 Ms. Gill as he put her hand behind her back?
§ between Ms. Gill and the police officer before he 6 A. He said something, but f don't remember.
7 took her wrist? +’ Asa matter of fact, it didn't seem like it was --
8 A. tdon't remember. I don't think so, 8 whatdo I wantto say? Whatever he said it was
9 though. 9 either quickly or I couldn't hear it, you know.
10 Q. For the, iet's say, five to ten seconds 40 But Edo, like, remember him saying something as
41 prior to the officer taking Ms. Gill's wrist, was 41 he put her arm behind her back. I can't recall
12 your attention focused on them or was it 42 what it was that he said.
13 elsewhere? 13 Q. Did Ms. Gill say anything to him?
14 A. TEwould say most of my attention was in 414 A. Ibelieve so.
45 that same vicinity, because if I remember 15 Q. And what did she say to him?
46 correctly, Bart was still right there as well. So 16 A. Lcan't-- I would be guessing.
47 between talking to Bart and trying to make sure 17 Q. So you do not recall?
48 that everything was okay with her, you know, I 18 A. No.
49 can't say 100 percent, but, yeah, I was standing 19 Q. At that whole time that Ms. Gill was
20 «right there. 20 interacting with the police officer outside the
21 Q. Was there anything specifically that 24 iBar, was she still visually upset?
22 brought your attention specifically to the 22 A. Yes.
23 officer's act of taking Ms. Gill's wrist? 23 Q. And when you say visually she was upset,

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73 75
4 20, 30 feet outside the door? 1 of the same hallway. So when you enter right
2 A. Yes, at times, yes. 2 here, to enter the actual lounge, yar would make a
3 Q. Allright. We've talked about the front 3 right; but if you were to go out of the door that
4 entrance of the IBar where people went in and out 4 I'mspeaking of, you would just keep walking about
5 and you described for us a little bit about the 5 ten feet and go east. So this is the west door.
6 jayout east and west of the parking lot. Was 6 There is a parailel door that looks exactly like
7 there another entrance to the bar that you were 7 it, same hallway, east. So fiteraliy the doors
8 aware of other than the front entrance that, say, 8 are like this and the entrance is in the middle.
9 for instance, employees or other people would go 9 Q. I got you. So it's sort of like a
10 in and out of the bar? 40 vestibule where you can enter and exit?
11 A. No. The front entrance, if this makes 11 A. Exactly. And the east door, I think I
42 any sense, if I can describe it, so she can -- the 42 seen it open once. They never use it.
13. front entrance, if there's a west door and you 13 Q@. The reason why I was asking is because
14 come inside the west door, if you go a little east 44 obviously there's only so much we can see from the
45 in that same passageway, that would be the only 45 view of this part of the camera. And off to the
16 other way out. Meaning -~ and I know I'm doing 46 upper jeft of this image the parking lot continues
17 descriptions, but, I'm sorry. You've got two 17 around to the left; is that correct?
48 doors paraliel to each other inthe same hallway; 18 A. Uh-huh.
19 the west door, which is the door that's used, you 419 QQ. I just --
20 know, often, and then this door which I don't 20 MS. RUKAVINA: Yes, just for the record.
24. think they even use it, but it’s right there. 21. BY THE WITNESS:
22 It's the same hallway. That's the only entrance/ 22 A. I'msorry. Yes.
23 «exit that I'm aware of. 23 MR. HUNDLEY: Thanks.
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4 MR. HUNDLEY: Okay, Give me one second. 4 BY MR, HUNDLEY:
2 I'mserry. 2 Q. I just want to make sure that there
3 (Discussion off the record.) 3. wasn't some sort of back entrance further around
4 BY MR. HUNDLEY: 4 to the left somewhere someone could enter this
5 Q. I'm going to show you what has been 5 area we're looking at without going through those
6 identified as camera 5 of the security cameras and 6 two doors you just described.
7 I'm just going to -- 7 A. No. Just this door.
& MS. RUKAVINA: I'm going to look over 8 Q. Okay, all right. You told us earlier
9 your shoulder. 9 about the noise level outside. Would it be fair
10 BY MR. HUNDLEY: 40 to say that even though everyone was in the same,
41 Q. -- which is the video that I provided to 41 say, 20 or 30-foot circumference that because of
142 you earlier today, and I just have it paused at 42 the noise you wouldn't be able to hear a
43 23:46:04. And just looking at this still image, 43 conversation with someone who Is at the door, for
44 can you orient yourself that this is a view of 44 instance, while you were out where Tanya and the
45 that entrance into the iBar? 15 officer was?
16 A. Yes. 46 A. Oh, very fair.
17 Q. From what you're just telling me a moment 17 Q. Yeah.
48 ago about there being two doors, is there a way 18 A. Plus the regular outside noise right off
49 you can show us in relation to this image where 49 North Avenue, it's not -- you know, it's noisy,
20 «those doors are? 20 period.
21 A. Not really outside of saying directly 21 Q. Okay. While you were outside, did you
22 «east of this door parallel, meaning it will be 22 aver hear anyone saying that they were sorry about
23 right the same exact door, but on the other side 23 the incident, meaning someone that you didn’t knaw
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4 that wasn't identified so far that you talked 4 was going to follow up with. Your exposure, to
2 about? 2 whatever degree it is, to promotions at this bar
3 A. No. 3 or elsewhere, you obviously know that a bar owner
4 Q. Okay. Again, going back to your 4 tries to have as few interactions with the police
5 estimates about time, I want to make sure that I'm 5 as possible; is that fair to say?
8 not missing something, from looking at all this 6 A. Yes.
7 video, it appears that there’s a 15, maybe 7 MS. RUKAVINA: Objection, speculation.
8 20-minute time frame from when Tanya and her 8 BY MR. HUNDLEY:
9 friend enter the iBar to when this incident inside 9 Q. After the incident outside when Tanya
40 the bar and then outside the bar takes place. 40 eft and you went back inside, was there ever an
14 A. Uh-huh. 441. occasion later on that evening where you saw any
12 Q. Earlier you said you thought maybe it had 42 security video of the time of this incident?
43 been an hour or two. If the video shows that it 13 A. No.
44 was a significantly shorter time, is there 14 Q. Did anyone ever comment to you that night
45 anything about that that you have a major quarrel 45 or any -- at any other time of having seen
16 0 with? 46 anything on the security video that the bar had?
17 A. No. Because honestly, being one of the 47 A. Idon't remember that, no.
48 promoters of the party there, I wasn't in one 18 Q. Okay. Throughout your observation
19 place, and, of course, not really focused on time. 19 between Tanya Gill and the police officers outside
20 Se it would have shocked me if you had said, you | 20 the iBar, did you get the impression that they
21 know, a short -- a lot shorter of a time. But 21 took her complaint about being struck inside the
22 that time frame doesn't shock me. 22 «iBar?
23 Q. Okay, all right. You mentioned earlier 23 MS. RUKAVINA: I'm sorry, can you repeat
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4 you had a few conversations with Bart inside the 41 that, or read that back I should say.
2 bar and then during this interaction with the 2 (Whereupon, the question was read.)
3 police outside the bar. Did you ever hear him 3 BY THE WITNESS:
4 stating to anyone, including the police, something 4 A. Yes.
5 to the effect of nothing happened, meaning that 5 BY MR. HUNDLEY:
6 there wasn't any kind of incident inside the bar 6 Q. Okay. In other words, from what you
7 between Tanya and this other patron? 7 overheard, it seerned to be Tanya's intent to let
8 A. No, I can't say that I remember that. 8 the police officers know that she had been struck
9 Q. Okay. And did you ever get the 9 while inside the bar, correct?
40 impression that Bart or any of the iBar employees 40 A. Yes.
41 were trying to convey the message to the police 11 Q. Okay. Have you ever had any experience
42 officers that there hadn't been any sort of 42. prior to this incident of making a complaint or
43 incident inside the bar? 43 reporting an incident to the police?
14 A. Yes. 14 A. Idon't understand the question.
15 Q. Tell mea little bit more about what you 15 Q. In other words, whether on the scene of
46 observed or what your impressions were there? 46 some incident or having to go to a police station,
17 A. Like I said, not being able to repeat a 417 have you yourself had to make a police report
48 conversation, but I saw Bart's interaction with 18 about some incident taking place?
49 the police. And knowing that him being a lounge | 19 A. Maybe like an accident or something. Is
20 owner, not wanting it to be an incident. So, you 20 that what you're asking?
24 know, I would be safe in assuming that he was 21 Q. Sure.
22 trying to keep down whatever incident happened. | 22 A. Yes, I've done that before.
23 Q. Okay. And you've said basically what I 23 Q. Sometimes something gets stolen and

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4 A. Based on what happened, I would say yes. | 1 BY MR. HUNDLEY:
2 Q. [know you told us earlier that you don't 2 Q. And I have it paused at the time marked
3 recall the specifics of what a fot of people said 3 23:46:01. And to make matters worse, this version
4 even though you know that they were having 4 of the video has the time stamp in the upper
5 conversations, and I certainly appreciate that. 5 left-hand corner. You can see that, right?
6 from the moment that the one officer twisted 6 A. Yes.
7 Tanya's wrist behind her back and pushed her up 7 Q. Okay. Which is going to make things even
8 against the car until the point that she was 8 harder, because that's approximately where this
9 released, I think you said that was approximately 9 activity takes place, I believe.
40 ten seconds later, did you hear any of the other 10 I'm going to let the video roll for
ti police officers say anything along the lines of 41 just a moment, because I believe this is when you
12. let her go or encouraging him to stop having her 12 walk outside, and you can let me know.
43 in that hold? 13 Allright. I'm pausing it at
14 A. No, I didn't hear that. 44 23:46:21, Is that you in the light-colored shirt
15 Q. Okay. Throughout your observation of 45 that just walked out?
48 this incident between Tanya Gill and the police 16 A. Yes.
47 officers, did she do anything that you felt was 17 Q. Okay. Let it run for just one more
48 disrespectful to the police officers? 48 second.
19 MS. RUKAVINA: Objection, form, 419 At 23:46:34, some additional
20 foundation, speculation. 20 officers walk out, correct?
21. BY THE WITNESS: 21 A. Yes.
22 A. No. 22 Q. And before that, there was an officer who
23 23 is sort of facing the camera who appears to have a
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4 BY MR. HUNDLEY: 4 buzz cut or perhaps was partially bald; is that
2 Q. And during and following the physical 2 right?
% contact between the police officer and Tanya Gill, 3 A. Yes.
4 meaning having her arm behind her back and against 4 Q. As you sit here today -- well, strike
5 the car, did Tanya do or say anything that in your 5 that.
6 opinion was disrespectful toward the police 6 In a moment, the activity is going
7 officer? 7 to get even further in the corner of this image.
8 MS, RUKAVINA: Same objections. 8 But as you look at these officers here, can you
9 BY THE WITNESS: 9 identify any of them as being the one that
10 A. No, I don't remember anything like that. 40 eventually had physical contact with Tanya Gill?
14 MR. HUNDLEY: Okay. Just give me one 11 A. From this picture?
42 second. I'm trying to cue up the video to the 12 Q. Yes.
43 correct point. 13 A. It may have been this gentleman here.
44 Let me see if I can do this in a way 44 Q. Okay.
45 you both can Jook at. 45 A. It was not him for sure.
16 MS. RUKAVINA: I can come around. 16 Q. Not the bald one?
147. BY MR. HUNDLEY: 17 A. Right.
48 Q. I'm showing you this same video we saw 18 Q. But perhaps this one who is just --
49 earlier, which I suppose for identification 49 A. Yeah, The video is grainy, so I can't
20 purposes we can call Dixon Exhibit No. 1. 20 see like that to be able to identify it.
21 (Document marked as Dixon Deposition 21 Q. Okay. I know there's definitely a
22 Exhibit No. 1 for identification.) 22 limitation to the quality of the image,
23 23 unfortunately.
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